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 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 18-625-JAK-1

13             Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                              SCOTT SEO
14                   v.

15   SCOTT SEO,
       aka “Seung Hye Seo,”
16     aka “Scott Hoon Seo,”

17             Defendant.

18

19
          1.    This constitutes the plea agreement between defendant SCOTT
20
     SEO, also known as “Seung Hye Seo,” and “Scott Hoon Seo”
21
     (“defendant”) and the United States Attorney’s Office for the Central
22
     District of California (“the USAO”) in the above-captioned case.
23
     This agreement is limited to the USAO and cannot bind any other
24
     federal, state, local, or foreign prosecuting, enforcement,
25
     administrative, or regulatory authorities.
26
                                DEFENDANT’S OBLIGATIONS
27
          2.    Defendant agrees to:
28
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 1                a.   At the earliest opportunity requested by the USAO and

 2   provided by the Court, appear and plead guilty to count thirteen of

 3   the indictment, which charges defendant with Bribery Concerning

 4   Programs Receiving Federal Funds, in violation of Title 18, United

 5   States Code, Section 666(a)(2).

 6                b.   Not contest the Factual Basis agreed to in this

 7   agreement.

 8                c.   Abide by all agreements regarding sentencing contained

 9   in this agreement.

10                d.   Appear for all court appearances, surrender as ordered

11   for service of sentence, obey all conditions of any bond, and obey

12   any other ongoing court order in this matter.

13                e.   Not commit any crime; however, offenses that would be

14   excluded for sentencing purposes under United States Sentencing

15   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

16   within the scope of this agreement.

17                f.   Be truthful at all times with Pretrial Services, the

18   United States Probation Office, and the Court.

19                g.   Pay the applicable special assessment at or before the

20   time of sentencing unless defendant lacks the ability to pay and

21   prior to sentencing submits a completed financial statement on a form

22   to be provided by the USAO.

23                h.   Make restitution at or before the time of sentencing,

24   and not seek the discharge of any restitution obligation, in whole or

25   in part, in any present or future bankruptcy proceeding.

26        3.      Defendant further agrees to cooperate fully with the USAO

27   and the Federal Bureau of Investigation, and, as directed by the

28   USAO, any other federal, state, local, or foreign prosecuting,

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 1   enforcement, administrative, or regulatory authority.           This

 2   cooperation requires defendant to:

 3              a.    Respond truthfully and completely to all questions

 4   that may be put to defendant, whether in interviews, before a grand

 5   jury, or at any trial or other court proceeding.

 6              b.    Attend all meetings, grand jury sessions, trials or

 7   other proceedings at which defendant’s presence is requested by the

 8   USAO or compelled by subpoena or court order.

 9              c.    Produce voluntarily all documents, records, or other

10   tangible evidence relating to matters about which the USAO, or its

11   designee, inquires.

12              d.    If requested to do so by the USAO, act in an

13   undercover capacity to the best of defendant’s ability in connection

14   with criminal investigations by federal, state, local, or foreign law

15   enforcement authorities, in accordance with the express instructions

16   of those law enforcement authorities.        Defendant agrees not to act in

17   an undercover capacity, tape record any conversations, or gather any

18   evidence except after a request by the USAO and in accordance with

19   express instructions of federal, state, local, or foreign law

20   enforcement authorities.

21        4.    For purposes of this agreement: (1) “Cooperation

22   Information” shall mean any statements made, or documents, records,

23   tangible evidence, or other information provided, by defendant

24   pursuant to defendant’s cooperation under this agreement; and

25   (2) “Plea Information” shall mean any statements made by defendant,

26   under oath, at the guilty plea hearing and the agreed to factual

27   basis statement in this agreement.

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 1                              THE USAO’S OBLIGATIONS

 2        5.      The USAO agrees to:

 3                a.   Not contest the Factual Basis agreed to in this

 4   agreement.

 5                b.   Abide by all agreements regarding sentencing contained

 6   in this agreement.

 7                c.   At the time of sentencing, move to dismiss the

 8   remaining counts of the indictment as against defendant.            Defendant

 9   agrees, however, that at the time of sentencing the Court may

10   consider any dismissed charges in determining the applicable

11   Sentencing Guidelines range, the propriety and extent of any

12   departure from that range, and the sentence to be imposed.

13                d.   At the time of sentencing, provided that defendant

14   demonstrates an acceptance of responsibility for the offense up to

15   and including the time of sentencing, recommend a two-level reduction

16   in the applicable Sentencing Guidelines offense level, pursuant to

17   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

18   additional one-level reduction if available under that section.

19        6.      The USAO further agrees:

20                a.   Not to offer as evidence in its case-in-chief in the

21   above-captioned case or any other criminal prosecution that may be

22   brought against defendant by the USAO, or in connection with any

23   sentencing proceeding in any criminal case that may be brought

24   against defendant by the USAO, any Cooperation Information.

25   Defendant agrees, however, that the USAO may use both Cooperation

26   Information and Plea Information: (1) to obtain and pursue leads to

27   other evidence, which evidence may be used for any purpose, including

28   any criminal prosecution of defendant; (2) to cross-examine defendant

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 1   should defendant testify, or to rebut any evidence offered, or

 2   argument or representation made, by defendant, defendant’s counsel,

 3   or a witness called by defendant in any trial, sentencing hearing, or

 4   other court proceeding; and (3) in any criminal prosecution of

 5   defendant for false statement, obstruction of justice, or perjury.

 6              b.    Not to use Cooperation Information against defendant

 7   at sentencing for the purpose of determining the applicable guideline

 8   range, including the appropriateness of an upward departure, or the

 9   sentence to be imposed, and to recommend to the Court that

10   Cooperation Information not be used in determining the applicable

11   guideline range or the sentence to be imposed.          Defendant

12   understands, however, that Cooperation Information will be disclosed

13   to the probation office and the Court, and that the Court may use

14   Cooperation Information for the purposes set forth in U.S.S.G

15   § 1B1.8(b) and for determining the sentence to be imposed.

16              c.    In connection with defendant’s sentencing, to bring to

17   the Court’s attention the nature and extent of defendant’s

18   cooperation.

19              d.    If the USAO determines, in its exclusive judgment,

20   that defendant has both complied with defendant’s obligations under

21   paragraphs 2 and 3 above and provided substantial assistance to law

22   enforcement in the prosecution or investigation of another

23   (“substantial assistance”), to move the Court pursuant to U.S.S.G.

24   § 5K1.1 to fix an offense level and corresponding guideline range

25   below that otherwise dictated by the sentencing guidelines, and to

26   recommend a term of imprisonment within this reduced range.

27               DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

28        7.    Defendant understands the following:

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 1              a.    Any knowingly false or misleading statement by

 2   defendant will subject defendant to prosecution for false statement,

 3   obstruction of justice, and perjury and will constitute a breach by

 4   defendant of this agreement.

 5              b.    Nothing in this agreement requires the USAO or any

 6   other prosecuting, enforcement, administrative, or regulatory

 7   authority to accept any cooperation or assistance that defendant may

 8   offer, or to use it in any particular way.

 9              c.    Defendant cannot withdraw defendant’s guilty plea if

10   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a

11   reduced guideline range or if the USAO makes such a motion and the

12   Court does not grant it or if the Court grants such a USAO motion but

13   elects to sentence above the reduced range.

14              d.    At this time the USAO makes no agreement or

15   representation as to whether any cooperation that defendant has

16   provided or intends to provide constitutes or will constitute

17   substantial assistance.      The decision whether defendant has provided

18   substantial assistance will rest solely within the exclusive judgment

19   of the USAO.

20              e.    The USAO’s determination whether defendant has

21   provided substantial assistance will not depend in any way on whether

22   the government prevails at any trial or court hearing in which

23   defendant testifies or in which the government otherwise presents

24   information resulting from defendant’s cooperation.

25                               NATURE OF THE OFFENSE

26        8.    Defendant understands that for defendant to be guilty of

27   the crime charged in count thirteen, that is, Federal Program

28   Bribery, in violation of 18 U.S.C. § 666(a)(2), the following must be

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 1   true: (1) Wilbur M. Salao (“Salao”) was an agent of an agency or

 2   State government; (2) defendant corruptly gave, offered, or agreed to

 3   give anything of value to Salao; (3) defendant intended to influence

 4   or reward Salao in connection with any business, transaction, or

 5   series of transactions of an agency or State government involving

 6   anything of value of $5,000 or more; (4) the agency or State

 7   government received, in any one-year period, benefits in excess of

 8   $10,000 under a Federal program involving a grant, contract, subsidy,

 9   loan, guarantee, insurance, or other form of Federal assistance.

10                            PENALTIES AND RESTITUTION

11        9.    Defendant understands that the statutory maximum sentence

12   that the Court can impose for a violation of Title 18, United States

13   Code, Section 666, is: 10 years of imprisonment; a 3-year period of

14   supervised release; a fine of $250,000 or twice the gross gain or

15   gross loss resulting from the offense, whichever is greatest; and a

16   mandatory special assessment of $100.

17        10.   Defendant agrees to make full restitution to the victim of

18   the offense to which defendant is pleading guilty.          Defendant agrees

19   that, in return for the USAO’s compliance with its obligations under

20   this agreement, the Court may order restitution to persons other than

21   the victim of the offenses to which defendant is pleading guilty and

22   in amounts greater than those alleged in the count to which defendant

23   is pleading guilty.     In particular, defendant agrees that the Court

24   may order restitution to any victim of any of the following for any

25   losses suffered by that victim as a result: (a) any relevant conduct,

26   as defined in U.S.S.G. § 1B1.3, in connection with the offense to

27   which defendant is pleading guilty.        The parties currently believe

28   that the applicable amount of restitution is approximately $88,400,

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 1   but recognize and agree that this amount could change based on facts

 2   that come to the attention of the parties prior to sentencing.

 3        11.   Defendant understands that supervised release is a period

 4   of time following imprisonment during which defendant will be subject

 5   to various restrictions and requirements.         Defendant understands that

 6   if defendant violates one or more of the conditions of any supervised

 7   release imposed, defendant may be returned to prison for all or part

 8   of the term of supervised release authorized by statute for the

 9   offense that resulted in the term of supervised release, which could

10   result in defendant serving a total term of imprisonment greater than

11   the statutory maximum stated above.

12        12.   Defendant understands that, by pleading guilty, defendant

13   may be giving up valuable government benefits and valuable civic

14   rights, such as the right to vote, the right to possess a firearm,

15   the right to hold office, and the right to serve on a jury.

16   Defendant understands that once the Court accepts defendant’s guilty

17   plea, it will be a federal felony for defendant to possess a firearm

18   or ammunition.    Defendant understands that the conviction in this

19   case may also subject defendant to various other collateral

20   consequences, including but not limited to revocation of probation,

21   parole, or supervised release in another case and suspension or

22   revocation of a professional license.        Defendant understands that

23   unanticipated collateral consequences will not serve as grounds to

24   withdraw defendant’s guilty plea.

25                                   FACTUAL BASIS

26        13.   Defendant admits that defendant is, in fact, guilty of the

27   offense to which defendant is agreeing to plead guilty.           Defendant

28   and the USAO agree to the statement of facts provided below and agree

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 1   that this statement of facts is sufficient to support a plea of

 2   guilty to the charge described in this agreement and to establish the

 3   Sentencing Guidelines factors set forth in paragraph 15 below but is

 4   not meant to be a complete recitation of all facts relevant to the

 5   underlying criminal conduct or all facts known to either party that

 6   relate to that conduct.

 7        The California Department of Alcoholic Beverage Control (“ABC”),

 8   a department of the State of California, and the State of California

 9   received benefits in excess of $10,000 under a Federal program

10   involving a grant, contract, subsidy, loan, guarantee, insurance, and

11   other form of Federal assistance, during the following one-year

12   periods: October 1, 2013 to September 30, 2014; October 1, 2014 to

13   September 30, 2015; October 1, 2015 to September 30, 2016.

14        Beginning in at least 2010, Wilbur M. Salao (“Salao”) was a

15   public official employed by the ABC as District Administrator in the

16   Los Angeles Metro office.

17        Defendant was employed as a consultant, offering his services to

18   businesses located in the Koreatown area of Los Angeles on matters

19   concerning ABC licenses, ABC condition modifications, and ABC

20   enforcement and disciplinary resolutions.

21        Between December 2011 and May 2016, defendant paid bribes to

22   Salao, which defendant and Salao concealed from the ABC.            In exchange

23   for receiving bribes and kickbacks from defendant, Salao performed at

24   least the following official acts in his capacity as an ABC District

25   Administrator: (i) directing ABC enforcement operations and

26   disciplinary actions against targeted businesses defendant selected;

27   (ii) altering official ABC documents at the direction of defendant,

28   including modifying diagrams and operating conditions; (iii) sharing

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 1   non-public information with defendant to benefit defendant and his

 2   clients; (iv) expediting the licensing process for defendant’s

 3   clients at defendant’s direction; and (v) delaying the licensing

 4   process for defendant’s competitors at defendant’s direction.

 5           These bribes and official acts allowed defendant to target

 6   businesses for enforcement actions, convince business owners to pay

 7   defendant a fee to avoid harsh disciplinary actions imposed by Salao,

 8   sign new clients, generate fees from existing clients, harm

 9   defendant’s competitors and rivals, and force businesses to sell

10   their establishments to defendant and his associates.

11           In December 2011, defendant accepted $60,000 in cash from

12   Cooperating Witness 2, to resolve Business 1’s ABC license issue,

13   including by paying a bribe or kickback to Salao.           In return, Salao

14   issued a temporary ABC license to Business 1.

15           On January 22, 2014, during an in-person meeting in Los Angeles

16   County, defendant gave Salao a $1,900 cash bribe.

17           On April 24, 2014, during an in-person meeting in Los Angeles

18   County, defendant gave Salao a $2,000 bribe by check, check number

19   1021.

20           On February 6, 2015, during an in-person meeting in Los Angeles

21   County, defendant gave Salao a $2,500 bribe by check, check number

22   1037.

23           On March 4, 2015, during an in-person meeting in Los Angeles

24   County, defendant gave Salao a $2,500 bribe by check, check number

25   1042.

26           On April 30, 2015, during an in-person meeting in Los Angeles

27   County, defendant gave Salao a $2,250 bribe by check, check number

28   1053.

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 1           On June 16, 2015, during an in-person meeting in Los Angeles

 2   County, defendant gave Salao a $2,500 bribe by check, check number

 3   1065.

 4           On August 17, 2015, during an in-person meeting in Los Angeles

 5   County, defendant gave Salao a $2,500 cash bribe.

 6           On October 14, 2015, during an in-person meeting in Los Angeles

 7   County, defendant gave Salao a $5,250 bribe by check, check number

 8   unknown.

 9           On January 28, 2016, during an in-person meeting in Los Angeles

10   County, defendant gave Salao a $2,000 cash bribe.

11           On May 24, 2016, during an in-person meeting in Los Angeles

12   County, defendant gave Salao a $5,000 cash bribe.

13           In total, from December 2011 to May 2016, defendant gave Salao

14   at least $28,400 in bribe payments in exchange for Salao’s assistance

15   in Salao’s role as an ABC official, which enriched defendant by at

16   least $60,000.

17                                 SENTENCING FACTORS

18           14.   Defendant understands that in determining defendant’s

19   sentence the Court is required to calculate the applicable Sentencing

20   Guidelines range and to consider that range, possible departures

21   under the Sentencing Guidelines, and the other sentencing factors set

22   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

23   Sentencing Guidelines are advisory only, that defendant cannot have

24   any expectation of receiving a sentence within the calculated

25   Sentencing Guidelines range, and that after considering the

26   Sentencing Guidelines and the other § 3553(a) factors, the Court will

27   be free to exercise its discretion to impose any sentence it finds

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 1   appropriate up to the maximum set by statute for the crime of

 2   conviction.

 3         15.   Defendant and the USAO agree to the following applicable

 4   Sentencing Guidelines factors:

 5      Base Offense Level:                     12       U.S.S.G. § 2C1.1(a)(2)

 6      More than 1 bribe:                      +2       U.S.S.G. § 2C1.1(b)(1)

 7      More than $40,000:                      +6        U.S.S.G. §2C1.1(b)(2)

 8   Defendant and the USAO reserve the right to argue that additional

 9   specific offense characteristics, adjustments, and departures under

10   the Sentencing Guidelines are appropriate.

11         16.   Defendant understands that there is no agreement as to

12   defendant’s criminal history or criminal history category.

13         17.   Defendant and the USAO reserve the right to argue for a

14   sentence outside the sentencing range established by the Sentencing

15   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

16   (a)(2), (a)(3), (a)(6), and (a)(7).

17                         WAIVER OF CONSTITUTIONAL RIGHTS

18         18.   Defendant understands that by pleading guilty, defendant

19   gives up the following rights:

20               a.   The right to persist in a plea of not guilty.

21               b.   The right to a speedy and public trial by jury.

22               c.   The right to be represented by counsel – and if

23   necessary have the Court appoint counsel - at trial.           Defendant

24   understands, however, that, defendant retains the right to be

25   represented by counsel – and if necessary have the Court appoint

26   counsel – at every other stage of the proceeding.

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 1               d.    The right to be presumed innocent and to have the

 2   burden of proof placed on the government to prove defendant guilty

 3   beyond a reasonable doubt.

 4               e.    The right to confront and cross-examine witnesses

 5   against defendant.

 6               f.    The right to testify and to present evidence in

 7   opposition to the charges, including the right to compel the

 8   attendance of witnesses to testify.

 9               g.    The right not to be compelled to testify, and, if

10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12               h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                          WAIVER OF APPEAL OF CONVICTION

16         19.   Defendant understands that, with the exception of an appeal

17   based on a claim that defendant’s guilty plea was involuntary, by

18   pleading guilty defendant is waiving and giving up any right to

19   appeal defendant’s conviction on the offense to which defendant is

20   pleading guilty.     Defendant understands that this waiver includes,

21   but is not limited to, arguments that the statutes to which defendant

22   is pleading guilty are unconstitutional, and any and all claims that

23   the statement of facts provided herein is insufficient to support

24   defendant’s plea of guilty.

25                    LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

26         20.   Defendant agrees that, provided the Court imposes a term of

27   imprisonment within or below the range corresponding to an offense

28   level of 17 and the criminal history category calculated by the

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 1   Court, defendant gives up the right to appeal all of the following:

 2   (a) the procedures and calculations used to determine and impose any

 3   portion of the sentence; (b) the term of imprisonment imposed by the

 4   Court; (c) the fine imposed by the Court, provided it is within the

 5   statutory maximum; (d) to the extent permitted by law, the

 6   constitutionality or legality of defendant’s sentence, provided it is

 7   within the statutory maximum; (e) the amount and terms of any

 8   restitution order, provided it requires payment of no more than

 9   $88,400; (f) the term of probation or supervised release imposed by

10   the Court, provided it is within the statutory maximum; and (g) any

11   of the following conditions of probation or supervised release

12   imposed by the Court: the conditions set forth in General Orders 318,

13   01-05, and/or 05-02 of this Court; the drug testing conditions

14   mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and

15   drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

16         21.   The USAO agrees that, provided (a) all portions of the

17   sentence are at or below the statutory maximum specified above and

18   (b) the Court imposes a term of imprisonment within or below the

19   range corresponding to an offense level of 17 and the criminal

20   history category calculated by the Court, the USAO gives up its right

21   to appeal any portion of the sentence, with the exception that the

22   USAO reserves the right to appeal the amount of restitution ordered

23   if that amount is less than $88,400.

24                       RESULT OF WITHDRAWAL OF GUILTY PLEA

25         22.   Defendant agrees that if, after entering a guilty plea

26   pursuant to this agreement, defendant seeks to withdraw and succeeds

27   in withdrawing defendant’s guilty plea on any basis other than a

28   claim and finding that entry into this plea agreement was

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 1   involuntary, then (a) the USAO will be relieved of all of its

 2   obligations under this agreement, including in particular its

 3   obligations regarding the use of Cooperation Information; (b) in any

 4   investigation, criminal prosecution, or civil, administrative, or

 5   regulatory action, defendant agrees that any Cooperation Information

 6   and any evidence derived from any Cooperation Information shall be

 7   admissible against defendant, and defendant will not assert, and

 8   hereby waives and gives up, any claim under the United States

 9   Constitution, any statute, or any federal rule, that any Cooperation

10   Information or any evidence derived from any Cooperation Information

11   should be suppressed or is inadmissible; and (c) should the USAO

12   choose to pursue any charge that was either dismissed or not filed as

13   a result of this agreement, then (i) any applicable statute of

14   limitations will be tolled between the date of defendant’s signing of

15   this agreement and the filing commencing any such action; and

16   (ii) defendant waives and gives up all defenses based on the statute

17   of limitations, any claim of pre-indictment delay, or any speedy

18   trial claim with respect to any such action, except to the extent

19   that such defenses existed as of the date of defendant’s signing this

20   agreement.

21                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

22         23.    Defendant agrees that if the count of conviction is

23   vacated, reversed, or set aside, both the USAO and defendant will be

24   released from all their obligations under this agreement.

25                            EFFECTIVE DATE OF AGREEMENT

26         24.    This agreement is effective upon signature and execution of

27   all required certifications by defendant, defendant’s counsel, and an

28   Assistant United States Attorney.

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 1                                BREACH OF AGREEMENT

 2         25.   Defendant agrees that if defendant, at any time after the

 3   signature of this agreement and execution of all required

 4   certifications by defendant, defendant’s counsel, and an Assistant

 5   United States Attorney, knowingly violates or fails to perform any of

 6   defendant’s obligations under this agreement (“a breach”), the USAO

 7   may declare this agreement breached.        For example, if defendant

 8   knowingly, in an interview, before a grand jury, or at trial, falsely

 9   accuses another person of criminal conduct or falsely minimizes

10   defendant’s own role, or the role of another, in criminal conduct,

11   defendant will have breached this agreement.          All of defendant’s

12   obligations are material, a single breach of this agreement is

13   sufficient for the USAO to declare a breach, and defendant shall not

14   be deemed to have cured a breach without the express agreement of the

15   USAO in writing.     If the USAO declares this agreement breached, and

16   the Court finds such a breach to have occurred, then:

17               a.   If defendant has previously entered a guilty plea

18   pursuant to this agreement, defendant will not be able to withdraw

19   the guilty plea.

20               b.   The USAO will be relieved of all its obligations under

21   this agreement; in particular, the USAO: (i) will no longer be bound

22   by any agreements concerning sentencing and will be free to seek any

23   sentence up to the statutory maximum for the crime to which defendant

24   has pleaded guilty; (ii) will no longer be bound by any agreements

25   regarding criminal prosecution, and will be free to criminally

26   prosecute defendant for any crime, including charges that the USAO

27   would otherwise have been obligated to dismiss; and (iii) will no

28   longer be bound by any agreement regarding the use of Cooperation

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 1   Information and will be free to use any Cooperation Information in

 2   any way in any investigation, criminal prosecution, or civil,

 3   administrative, or regulatory action.

 4                 c.   The USAO will be free to criminally prosecute

 5   defendant for false statement, obstruction of justice, and perjury

 6   based on any knowingly false or misleading statement by defendant.

 7                 d.   In any investigation, criminal prosecution, or civil,

 8   administrative, or regulatory action: (i) defendant will not assert,

 9   and hereby waives and gives up, any claim that any Cooperation

10   Information was obtained in violation of the Fifth Amendment

11   privilege against compelled self-incrimination; and (ii) defendant

12   agrees that any Cooperation Information and any Plea Information, as

13   well as any evidence derived from any Cooperation Information or any

14   Plea Information, shall be admissible against defendant, and

15   defendant will not assert, and hereby waives and gives up, any claim

16   under the United States Constitution, any statute, Rule 410 of the

17   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

18   Criminal Procedure, or any other federal rule, that any Cooperation

19   Information, any Plea Information, or any evidence derived from any

20   Cooperation Information or any Plea Information should be suppressed

21   or is inadmissible.

22           26.   Following the Court’s finding of a knowing breach of this

23   agreement by defendant, should the USAO choose to pursue any charge

24   that was either dismissed or not filed as a result of this agreement,

25   then:

26                 a.   Defendant agrees that any applicable statute of

27   limitations is tolled between the date of defendant’s signing of this

28   agreement and the filing commencing any such action.

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 1                 b.   Defendant waives and gives up all defenses based on

 2   the statute of limitations, any claim of pre-indictment delay, or any

 3   speedy trial claim with respect to any such action, except to the

 4   extent that such defenses existed as of the date of defendant’s

 5   signing this agreement.

 6                      COURT AND PROBATION OFFICE NOT PARTIES

 7           27.   Defendant understands that the Court and the United States

 8   Probation Office are not parties to this agreement and need not

 9   accept any of the USAO’s sentencing recommendations or the parties’

10   agreements to facts or sentencing factors.

11           28.   Defendant understands that both defendant and the USAO are

12   free to: (a) supplement the facts by supplying relevant information

13   to the United States Probation Office and the Court, (b) correct any

14   and all factual misstatements relating to the Court’s Sentencing

15   Guidelines calculations and determination of sentence, and (c) argue

16   on appeal and collateral review that the Court’s Sentencing

17   Guidelines calculations and the sentence it chooses to impose are not

18   error, although each party agrees to maintain its view that the

19   calculations in paragraph 15 are consistent with the facts of this

20   case.    This paragraph permits both the USAO and defendant to submit

21   full and complete factual information to the United States Probation

22   Office and the Court, even if that factual information may be viewed

23   as inconsistent with the Factual Basis or Sentencing Factors agreed

24   to in this agreement.

25           29.   Defendant understands that even if the Court ignores any

26   sentencing recommendation, finds facts or reaches conclusions

27   different from those agreed to, and/or imposes any sentence up to the

28   maximum established by statute, defendant cannot, for that reason,

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